                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
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ASHENAFI BERHE,                            )
                                           )
            Plaintiff,                     )
                                           ) Civil Action No.
            v.                             ) 17-11937-DJC
                                           )
CHANNEL 7 NEWS, 98.8 BROADBAND             )
RADIO, RADIO WGBH 89.7 FM, AND             )
WJMN 94.5 FM RADIO.                        )
                                           )
            Defendants.                    )
__________________________________________)

                                    ORDER OF DISMISSAL

CASPER, D.J.                                                                      January 31, 2018
       The Court finds that the plaintiff is unable to pay the filing fee and ALLOWS the motion

to proceed in forma pauperis (D. 2). Because the plaintiff is proceeding in forma pauperis, this

Court must dismiss the complaint if the action is frivolous. 28 U.S.C. § 1915(e)(2)(B)(i). A

complaint is frivolous “if the facts alleged are clearly baseless, a category encompassing

allegations that are fanciful…[or]…fantastic.” Miller v. Kennebec County Sheriff’s Dept., 54

F.3d 764 (1st Cir. 1995)(unpublished decision)(quotations omitted). “As those words suggest, a

finding of factual frivolousness is appropriate when the facts alleged rise to the level of the

irrational or the wholly incredible, whether or not there are judicially noticeable facts available to

contradict them.” Denton v. Hernandez, 504 U.S. 25, 33 (1992). The Court notes that this action

is virtually identical to a previously dismissed frivolous action. See Berhe v. Channel 7 News et

al., 17-cv-11525-DJC (dismissed September 28, 2017). While the Court does not doubt the

sincerity of plaintiff’s belief in his claims, the complaint and amended complaint, read generously,

do not meet the screening requirements of 28 U.S.C. §1915(e)(2)(B)(i).
      Accordingly, this action is DISMISSED pursuant to 28 U.S.C. §1915(e)(2)(B)(i).

So Ordered.
                                              /s/ Denise J. Casper___________
                                         UNITED STATES DISTRICT JUDGE




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